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                                              UNITED STATES DISTRICT COURT
           16
                                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
           17
                                                      OAKLAND DIVISION
           18

           19    EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

           20                            Plaintiff, Counter-     REPLY IN SUPPORT OF APPLE INC.’S
                                         defendant               MOTION TO STRIKE WRITTEN AND
           21                                                    ORAL TESTIMONY OF DR. MICHAEL I.
                       v.                                        CRAGG REGARDING FOREIGN
           22                                                    REGULATORY SUBMISSIONS OF A NON-
                 APPLE INC.,                                     PARTY
           23
                                         Defendant,
           24                            Counterclaimant.

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Crutcher LLP              REPLY IN SUPPORT OF APPLE INC.’S MOTION TO STRIKE TESTIMONY OF DR. CRAGG
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            1           Over Apple’s objection, Dr. Cragg offered opinions in both his written direct testimony (Ex.
            2    Expert 13 ¶ 71 & n.10) and at trial (Trial Tr. 2335:9–2340:16 (Cragg)) about a supposed “              ”
            3    Spotify submitted in an advocacy submission to the Japan Fair Trade Commission. See PX-1152; PX-
            4    1153. Dr. Cragg twice assured the Court he had the “entirety of the Compass Lexecon report”
            5    underlying the short summaries he discussed on the stand. Trial Tr. 2339:21–24, 2344:8–17. Indeed,
            6    this April 9, 2019 “                               ” was the basis for Dr. Cragg’s asserted belief in the
            7    truth of Spotify’s JFTC submissions. Trial Tr. 2344:8–17.
            8           Dr. Cragg’s representation to the Court was false. The Court directed Epic to submit the
            9    underlying                                  , Trial Tr. 2344:24–2345:8, but Epic has instead given the
           10    Court a different             (dated                   ) apparently commissioned by Spotify that only
           11    concerns a different country (          ). Brass Decl. ISO Br. to Strike Testimony of Dr. Cragg ¶ 3;
           12    Kung Decl. ¶¶ 6–7. This alone is reason to strike the testimony at issue: What Epic still has not told
           13    the Court is that while the Court directed Epic (the sponsor of Mr. Cragg’s opinions) to provide the
           14    report purportedly underlying the JFTC submission about which Dr. Cragg testified, Epic cannot do so
           15    because that report was never produced in this litigation—not by Dr. Cragg, not by Epic, and not by
           16    Spotify. Dr. Cragg’s opinions related to the Spotify JFTC submissions should be stricken.
           17           Epic suggests—but does not certify—that the actual report underlying the JFTC submissions
           18    may have been clawed back by Spotify in mid-February. Stuckey Decl. ¶ 11. If true, that makes the
           19    present problem worse, not better. If Epic or Dr. Cragg retained a copy of those materials and relied
           20    upon them, but did not produce them to Apple, their use now is improper and unfair. If Epic and Dr.
           21    Cragg returned the materials, Dr. Cragg was not truthful when testifying to the Court about the
           22    provenance of his opinions. See Trial Tr. 2341:21–2342:1 (Cragg) (testifying
           23

           24                                                ). Either way, the outcome is the same: The Court should
           25    strike Dr. Cragg’s testimony on the JFTC submissions without any further sideshow about the merits
           26    or reliability of Spotify’s hearsay advocacy to foreign regulators.
           27           Although irrelevant, Apple cannot be blamed for Epic’s inability to secure a trial witness—
           28    from a member of the “coalition” it formed to challenge Apple’s commissions—to provide percipient

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            1    knowledge about these documents or the underlying                  .” See Opp. at 1–2. As Epic admits,
            2    Spotify refused to produce a witness for a deposition before the close of fact discovery, and Spotify
            3    refused to testify at trial. Id. Epic, not Apple, is the proponent of the disputed opinion and bears the
            4    burden of establishing that Dr. Cragg can appropriately rely on the underlying records. Wi-LAN Inc.
            5    v. Sharp Elecs. Corp., 992 F.3d 1366, 1376 (Fed. Cir. 2021) (“The burden to establish reasonable
            6    reliance is on the proponent of challenged expert testimony.”). Had it sought to carry that burden
            7    through a deposition or trial witness, Apple would have had the opportunity to cross-examine a Spotify
            8    witness on the underlying records. Having failed to secure such a witness, Epic cannot blame Apple
            9    for failing to depose a third party on a document that none of Epic’s experts purported to rely on until
           10    well after the close of discovery.
           11           Nor can Epic evade its obligations under the Federal Rules of Evidence by misstating the nature
           12    of the parties’ stipulations. The parties’ stipulations did not relieve either party from complying with
           13    the Court’s directive that “experts do not get to opine without a factual basis for their opinions.” Trial
           14    Tr. 501:25–502:1. The JFTC submission is not “within the scope of Rule 703” by any stretch of the
           15    imagination, and therefore the stipulation did not affect Apple’s right to object to Dr. Cragg’s reliance
           16    on it—as Apple repeatedly did. When Epic disclosed PX-1152 and PX-1153 as exhibits it might use
           17    with Dr. Cragg, Apple timely objected. Suppl. Brass Decl. ¶ 2. When Epic then said it would attempt
           18    to use those materials under Rule 703, Apple said it would object to that too. Id. And when Epic
           19    sought to elicit Dr. Cragg’s opinions on the stand, Apple again objected. Trial Tr. 2288:14–25 (Cragg).
           20           As a last resort, Epic draws a false equivalency between Dr. Cragg’s and Prof. Hitt’s analyses.
           21    See Opp. at 4. But the differences could not be more stark. Prof. Hitt relied on Spotify’s transactional
           22    data, which was authenticated by a Rule 902 Declaration of Authenticity of Domestic Business Records
           23    from Spotify. Suppl. Brass Decl. Ex. A. Dr. Cragg’s source, by contrast, is an unauthenticated
           24    advocacy piece based on a study that is not in either party’s possession and has not been provided to
           25    the Court.    To be sure, it is significant that Spotify’s own, authenticated transactional data
           26    “contradict[s]” the JFTC submission on which Dr. Cragg relies—just not for the reason Epic suggests.
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            1    Opp. at 4. In any event, Prof. Hitt’s reliance on authenticated business records does not support Epic’s
            2    attempt to rely on unauthenticated and unrelated “portions of [Spotify’s] production.” Id.*
            3            For these reasons and those set forth in Apple’s initial brief, the Spotify submissions are not the
            4    type of evidence on which experts in Dr. Cragg’s field would rely upon and cannot form the basis for
            5    any of his opinions. Dr. Cragg’s written and oral testimony relying on those submissions should be
            6    stricken, and the submissions themselves disregarded.
            7
                 DATED: May 18, 2021                    By      /s/ Rachel S. Brass
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           15                                                   Attorneys for Apple Inc.

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                      Epic points out that Dr. Cragg testified that the data in the underlying report was “better than what
           27         typically an economist has access to.” Opp. at 1 (quoting Trial Tr. 2335:20–24). Dr. Cragg cannot
                      possibly know whether the contents of a non-existent report is “better” or “worse” than anything.
           28         He made a false representation to the Court. Apple requests that the Court consider this testimony
                      in evaluating Dr. Cragg’s credibility as well as reliability of his opinions and analyses.
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